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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------X
JANE ROE,
                                                                                   Civil Action No: 1:19-CV-0909
                                    Plaintiff,                                                      (GTS/DJS)

                                                                                   COMPLAINT

                  -against-


UNION COLLEGE, THE BOARD OF TRUSTEES
OF UNION COLLEGE,

                                    Defendants.
---------------------------------------------------------------------X

         PLAINTIFF JANE ROE1 (hereinafter referred to as “Plaintiff”), by her attorneys,

Nesenoff and Miltenberg, LLP, whose offices are located at 363 Seventh Avenue, 5th Floor, New

York, New York 10001, alleges upon knowledge with respect to herself, and upon knowledge,

information and belief as to all other matters, as follows:

                                                 THE PARTIES

         1.       At all times relevant to this Complaint, Plaintiff was and is a female citizen of the

United States who resides in the State of New York.

         2.       At all times relevant to this Complaint, Defendant Union College (hereinafter

“Defendant Union” or the “College”) was and is a private institution of higher education with its

campus located at 807 Union Street, Schenectady, New York 12308.




1
  Plaintiff herein files a motion for leave to file under a pseudonym. Plaintiff notes there is currently a case pending
against Defendants captioned “Jane Doe v. Union College et al.,” Case No. 19-CV-284. Accordingly, for the sake of
clarity, Plaintiff here has elected to use Jane Roe.

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          3.   At all times relevant to this Complaint, Defendant Union received and continues to

receive federal funding and is therefore subject to liability under Title IX of the Education Acts of

1972, 20 U.S.C. § 1681(a) (hereinafter “Title IX”).

          4.   According to published Union College Financial Statements for the fiscal year end

June 30, 2018, Defendant Union received $2,550,466 in government grants, in addition to the

federal student loan money it received. Defendant Union also reported allocations for sponsored

activities which included “various research and instructional programs funded by external parties

including the federal government, state governments, and private foundations.” See Union College

Financial Statement, June 30, 2018, available at https://www.union.edu/files/finance/201811/fs-

18.pdf.

          5.   At all times relevant to this Complaint, the Defendant Board of Trustees of Union

College was and is comprised of thirty-five (35) members, including the president of the college,

and as “a corporate body, has owned the College and been the College’s designated legal

representative throughout its history.” See https://www.union.edu/about/leadership/trustees.

                                 JURISDICTION AND VENUE

          6.   This Court has jurisdiction over Plaintiff’s claim(s) based on 28 U.S.C. §§ 1331

and 1332.

          7.    Venue is proper in this case pursuant to 28 U.S.C § 1391(b)(2) because the events

or omissions which give rise to Plaintiff’s claims took place in Schenectady County, New York

which is located in the Northern District of New York.




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                                         FACTUAL ALLEGATIONS

Plaintiff Begins Her First Semester at Union

           8.       Plaintiff commenced attending Union in or around September of 2015 as an

incoming freshman student. Plaintiff was excited to begin her college experience and live

independently for the first time away from home.

           9.       On or about September 6, 2015, Plaintiff attended her first college party at Union.

           10.      Prior to attending Union, Plaintiff did not have much, if any, experience drinking

alcohol and in fact, had never had a drink of beer until that first party at Union.

           11.      Following the September 6 party, Plaintiff created a tight-knit friend group with

whom she frequently attended social events at and around campus. It was through this friend group

that Plaintiff met a particular male student, “Assaulter Smith2.”

           12.      Throughout Plaintiff’s first semester at Union, she and Assaulter Smith remained

cordial acquaintances on campus. Though they did not develop a close friendship, they remained

friendly and would always greet each other when they saw each other on campus or at social

events.

           13.      Following her first semester at Union, Plaintiff briefly returned home for the winter

break, confident that she had chosen the right institution for her.

Plaintiff Returns to Union and Reunites with Her Friends

           14.      Plaintiff was home for winter break from Thanksgiving 2015 until approximately

January 3, 2016, when she returned to Union and moved back into her dorm room in Richmond

House (“Richmond”).




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    For privacy purposes, Plaintiff’s accused assaulter is named herein by pseudonym only.

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       15.     On or about January 6, 2016, Plaintiff was invited to a party, along with Assaulter

Smith and a number of other Union students, by a mutual friend “JK”. The party was being held

at 203 Steward Place (“203 Steward”) which was on Union’s campus.

       16.     Plaintiff accepted JK’s invitation and began getting ready for the party. Plaintiff

dressed in a flannel and tank top, paired with a pair of black jeans. Plaintiff then met and walked

with JK to the party.

       17.     When Plaintiff arrived at the party, she met up with two of her girlfriends, “ED”

and “LD”. Plaintiff, ED, and LD continued to hang out and drink at the party.

       18.     While at 203 Steward, Plaintiff and her friends continued to drink alcohol and play

drinking games with the other attendees. Plaintiff estimates that within approximately an hour at

203 Steward, she consumed the equivalent of approximately 11 shots of vodka and 5 cups of beers.

       19.     At some point during the party at 203 Steward, Assaulter Smith walked up to

Plaintiff, unannounced, and began to kiss Plaintiff on the lips.

       20.     Plaintiff was shocked; she had never engaged in any semblance of romantic contact

with Assaulter Smith before and certainly had never kissed him prior to the 203 Steward party.

Plaintiff immediately pulled away and walked away from Assaulter Smith.

       21.     Thereafter, JK approached Plaintiff and told her that he and some friends were

leaving 203 Steward to go to a different party at an off-campus fraternity house located at 821

Union Street (“821 Union”).

       22.     Plaintiff decided to also leave and attend the party at 821 Union.

Assaulter Smith Takes Advantage of Plaintiff in Her Vulnerable Inebriated State

       23.     While on the walk over to 821 Union, Plaintiff began to feel the significant effects

of her alcohol consumption. Plaintiff was slurring her speech and found it increasingly more



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difficult to keep her balance and coordination while walking. By the time Plaintiff reached 821

Union, she felt extremely drunk – she was not in control of her self and had difficulty being aware

of her surroundings.

        24.     When Plaintiff arrived at 821 Union, she noticed people dancing and decided to

also dance. While she was on the dance floor, Plaintiff felt someone approach her. It was Assaulter

Smith, who came up behind Plaintiff and began to “grind” on her, placing the full front of his body

against the full back of Plaintiff’s.

        25.     Plaintiff tried to escape from Assaulter Smith but, due to the effects of her alcohol

consumption, she was unable to do so. As Plaintiff attempted to get away from Assaulter Smith,

she stumbled and lost her balance.

        26.     Seeing Plaintiff struggle to get away, Assaulter Smith inched closer and closer

towards her and continued to aggressively grind against Plaintiff.

        27.     Assaulter Smith took full advantage of Plaintiff’s vulnerable state and began to kiss

her again on the dance floor. It was not until Plaintiff voiced that she felt ill that Assaulter Smith

allowed her to leave the dance floor as he followed her away from the raucous party crowd.

        28.     When Plaintiff and Assaulter Smith reached a quieter area of the party, Assaulter

Smith asked Plaintiff if she was “feeling okay.” Plaintiff responded that she was feeling sick and

needed to go back to her dorm room.

Assaulter Smith Takes Plaintiff Home and
Rapes Plaintiff in Her Dorm Room (the “Assault”)

        29.     Assaulter Smith then proceeded to leave the party with Plaintiff and walk her back

home to her dorm at Richmond.




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        30.    During the walk back to Richmond, Plaintiff found it extraordinarily difficult to

walk without assistance and remembers shivering and stumbling multiple times throughout the

walk.

        31.    Due to the effects of her alcohol consumption, Plaintiff fell to the ground at least

twice on the walk home to Richmond with Assaulter Smith. After the second time she fell,

Assaulter Smith, entirely unprompted, grabbed Plaintiff off the floor, picked her up, and decided

to carry her the rest of the way home to Richmond.

        32.    After reaching Richmond, Assaulter Smith confiscated Plaintiff’s identification

card, swiped them into the building, and proceeded to carry Plaintiff to her dorm room door.

        33.    After reaching Plaintiff’s dorm room, Assaulter Smith put Plaintiff down to allow

her to open the locked door. Plaintiff had little to no hand-eye coordination due to the effects of

her alcohol consumption and struggled to open the door.

        34.    Upon information and belief, Assaulter Smith became frustrated at Plaintiff’s

inability to open the door and thereafter took the keys from Plaintiff and opened her dorm room

himself.

        35.    Without invitation, Assaulter Smith followed Plaintiff inside her dorm room.

        36.    Once inside her dorm room, a place Plaintiff should have felt and been safe, the full

effects of Plaintiff’s alcohol consumption set in. Plaintiff felt as though the room itself were

violently spinning around her and her limbs felt heavy, as though they were made of lead.

        37.    Plaintiff laid on her bed so as to steady herself but nothing could stop the symptoms

she was feeling. Plaintiff soon became very sick and vomited into her nearby trashcan.




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        38.     Plaintiff began to panic and asked Assaulter Smith, “Will I be okay?” and “Am I

going to die?” Plaintiff could tell that she was slurring her words. Assaulter Smith did not offer

Plaintiff any response to her frantic and panicked questions.

        39.     After Plaintiff vomited, she laid back down on her bed. At this point, seeing

Plaintiff in her most vulnerable state, Assaulter Smith took it upon himself to attack her.

        40.     Uninvited and without any semblance of consent from Plaintiff, Assaulter Smith

proceeded to remove all of Plaintiff’s clothing. Plaintiff wanted desperately to resist but found that

she lacked the coordination and ability to stop him.

        41.     After removing Plaintiff’s clothing, Assaulter Smith proceeded to once again kiss

Plaintiff and grope her body, paying particular attention to Plaintiff’s breasts.

        42.     At no point did Plaintiff ever indicate, either through words or actions, that she

wanted or consented to being kissed or touched by Assaulter Smith. However, this did not matter

to him; knowing that Plaintiff was helpless to fight him off, Assaulter Smith continued to sexually

assault Plaintiff.

        43.     Plaintiff tried to scream out for help and to tell Assaulter Smith to stop but Assaulter

Smith unequivocally prevented her from doing so; Assaulter Smith covered Plaintiff’s mouth with

his hands and sinisterly told Plaintiff, “Don’t worry, everything is going to be okay.”

        44.     Assaulter Smith then escalated his attack on Plaintiff’s body. With his hand still

covering Plaintiff’s mouth so as to prevent her from calling out, Assaulter Smith continued to

touch Plaintiff’s body and digitally penetrated Plaintiff’s vagina, again without consent.

        45.     Plaintiff was helpless to fight back; she felt violated and disgusted at what was

happening to her.

        46.     Assaulter Smith continued to digitally rape Plaintiff for several minutes.



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        47.       After digitally penetrating Plaintiff, Assaulter Smith proceeded to remove his own

clothing, climbed onto the bed on top of Plaintiff, and vaginally penetrated Plaintiff with his penis,

once again without consent from Plaintiff.

        48.       Assaulter Smith proceeded to vaginally rape Plaintiff in her dorm room over her

continued objections. Upon information and belief, Plaintiff proceeded to black out.

Assaulter Smith Attempts to Cover Up the Assault
And Convince Plaintiff That “Nothing Happened”

        49.       The morning after the Assault, Plaintiff awoke to find herself stark naked in her bed

with Assaulter Smith lying next to her. Assaulter Smith was asleep, wearing only his underwear

and cupping Plaintiff’s bare breast in his hand.

        50.       Plaintiff was extremely alarmed and had this sickening feeling in her stomach.

Plaintiff had no recollection of what transpired the night before but felt as though something were

terribly wrong.

        51.       Plaintiff woke up Assaulter Smith and immediately asked, “What the hell happened

last night?” Plaintiff continued to ask him “Did anything happen?” and told Assaulter Smith that

she “didn’t remember anything”.

        52.       In response, Assaulter Smith asked “You don’t remember anything?” to which

Plaintiff replied, “No.”

        53.       Upon information and belief, realizing that Plaintiff could not recall the assault and

in an effort to cover up his crime, Assaulter Smith lied to Plaintiff. When asked what had happened

the night prior, Assaulter Smith untruthfully told Plaintiff that nothing had happened between

them.




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       54.     Assaulter Smith told Plaintiff that she had become sick the night prior because she

had drunk too much. Assaulter Smith explained that he had “taken care of” Plaintiff but reiterated

that nothing more happened.

       55.     Assaulter Smith then got dressed and rushed out of Plaintiff’s dorm room.

       56.     After Assaulter Smith left, Plaintiff surveyed the state of her dorm room, and

noticed her clothes strewn on the floor and the night’s old vomit in her trashcan. Plaintiff was still

very confused and uncomfortable about not remembering the previous night’s events but decided

to take a shower and continued onto class.

       57.     Plaintiff resolved herself to believe Assaulter Smith that nothing had happened the

night prior and went about her regular daily life as best she could; she attended classes, saw her

friends, and even occasionally greeted Assaulter Smith on campus. However, Plaintiff always felt

as though she were missing something and the uncertainty of what happened on the night of the

Assault haunted her.

Plaintiff Recalls the Assault in a Heartbreaking and Painful Flashback

       58.     On or about April 14, 2016, while Plaintiff was on her way to visit her then-

boyfriend “Boyfriend JJ”, Plaintiff passed by Union’s library where she noticed Assaulter Smith.

       59.     Being friendly, Plaintiff approached Assaulter Smith and said hi to him. At such

time, Assaulter Smith gave Plaintiff a hug and, while doing so, suddenly grabbed Plaintiff’s

buttocks.

       60.     Plaintiff was alarmed by Assaulter Smith’s forwardness; she quickly rushed away

to see Boyfriend JJ.




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           61.      After reaching her Boyfriend JJ’s room, Plaintiff described, in tears, to him that

Assaulter Smith had grabbed her butt just moments ago. Plaintiff was extremely upset about the

incident and Boyfriend JJ did everything he could to calm her down.

           62.      Little did Plaintiff know, she was about to experience the worst 24-hours of her life

as Assaulter Smith’s act of groping Plaintiff’s body in front of the library opened an onslaught of,

until then, upon information and belief, repressed memories of the Assault.

           63.      Over the next 24 hours, Plaintiff experienced heartbreaking and painful flashbacks

of the Assault, remembering the harrowing incident in detailed flashes. Plaintiff was distraught;

she was petrified of staying in her dorm room where she was violently raped and yet, while staying

with Boyfriend JJ, she could not bear for him to touch or at times even look at her.

           64.      Since the day Plaintiff was raped by Assaulter Smith, Plaintiff has experienced what

has been since diagnosed as Post-Traumatic Stress Disorder (“PTSD”) flashbacks of the Assault.

Plaintiff would often burst into tears remembering what Assaulter Smith had done to her and felt

extremely unsafe around all men.3

           65.      After her first PTSD flashback, Boyfriend JJ escorted Plaintiff to Union’s Wicker

Wellness Center (the “Center”). At the Center, Plaintiff met with a counselor who she continued

to treat with regarding the Assault and the resulting emotional and mental trauma she suffered.

           66.      Notably, no one at the Center ever offered or advised Plaintiff of further services

and resources, such as STD testing or ways to report the Assault to Union.

           67.      Plaintiff would continue to treat at the Center until her last day as a student at Union.




3
    Plaintiff continues to suffer from PTSD flashbacks.

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Boyfriend JJ Reports the Assault to Union and
Plaintiff Meets with Union’s Title IX Representative

        68.     On or about April 18, 2016, Boyfriend JJ met with Union’s Dean Stephen Leavitt

(“Dean Leavitt”) to report that Plaintiff had been sexually assaulted. Dean Leavitt advised

Boyfriend JJ to have Plaintiff meet with Melissa Kelley, Union’s then Title IX Coordinator

(“Coordinator Kelley”).

        69.     The week after her initial recall, Plaintiff met with Union’s Dean Trish Williams

(“Dean Williams”) and Coordinator Kelley to discuss the Assault. Plaintiff told Dean Williams

and Coordinator Kelley exactly what she could remember about the Assault but declined to name

her assaulter or identify any Union students at that time.

        70.     Plaintiff advised that she was not yet comfortable with the idea of moving forward

with an investigation and possible hearing. Dean Leavitt advised that Union could and would do

nothing her sexual assault report unless she went forward with a formal complaint against

Assaulter Smith.

        71.     A few days later, Plaintiff met for a second time with Dean Williams and

Coordinator Kelley to submit a formal complaint and request for a Title IX investigation. During

this meeting, Plaintiff identified her assaulter – Assaulter Smith – and asked that an investigation

be initiated.

        72.     In response, Coordinator Kelley advised Plaintiff of Union’s policy and procedures

regarding sexual assaults, had Plaintiff sign a confidentiality order and No Contact Order, and

asked that Plaintiff provide a list of potential witnesses and a summary of the events (meaning the

Assault).

        73.     Plaintiff signed the necessary agreements and timely provided the requested

information to Coordinator Kelley and Dean Leavitt.


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Union’s Sexual Misconduct Policy (“the Policy”)4

        74.     Union’s Policy provided, in relevant part:

              I.    Sexual or Gender-Based Harassment

                “Harassment” is conduct that creates an intimidating, offensive, or hostile working
                or learning environment or that unreasonably interferes with work or academic
                performance based on a person’s protected status, including sex []. All such conduct
                if unlawful.

                “Gender-Based Harassment” is harassment based on sex … which may include acts
                of aggression, intimidation, or hostility, whether verbal, physical, graphic, or
                otherwise. To qualify as Gender-Based Harassment, the conduct need not involve
                conduct of a sexual nature.

                …

                Hostile Environment. A hostile environment exists when the conduct is sufficiently
                severe, pervasive, or persistent that it unreasonably interferes with, limits, or
                deprives an individual from participating in or benefiting from [Union’s] education
                or employment programs and/or activities. Whether conduct is sufficiently severe,
                pervasive, or persistent is determined by using an objective standard of a reasonable
                person as well as the subjective standard of the Complainant.

                Harassing conduct can take many forms. The determination of whether an
                environment is hostile is based on the totality of the circumstances, including but
                not limited to: (1) the frequency of the conduct; (2) the nature and severity of the
                conduct; (3) whether the conduct was physically threatening; (40 the effect of the
                conduct on Complainant’s mental or emotional state, with consideration of whether
                the conduct unreasonably interfered with the Complainant’s educational or work
                performance and/or [Union] programs or activities; (5) whether the conduct was
                directed at more than one person; (6) whether the conduct arose in the context of
                other disciplinary conduct; and (70 whether the conduct in question is legally
                protected by academic freedom in accordance with the Academic Freedom
                policy…




4
 Plaintiff notes that the following provisions were taken from the 2017-2018 Union College Sexual Misconduct
Policy. Upon information and belief, Union’s 2017-2018 Policy mirrored Union’s 2015-2016 Policy.

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      A single isolated incident may create a hostile environment if the incident is
      sufficiently severe, particularly if the conduct is physical. A single incident of
      Sexual Assault, for example, may be sufficiently severe to constitute a hostile
      environment.

      Sexual or Gender-Based Harassment:

         •   May be blatant and intentional and involve an over action, a threat or
             reprisal, or may be subtle and indirect, with a coercive aspect that is
             unstated.

         •   May be committed by anyone, regardless of gender, age, position or
             authority.

         •   May be committed by a stranger, an acquaintance, or someone with whom
             the complainant has an intimate or sexual relationship.

         •   May be committed by or against an individual or mat be a result of the
             actions of an organization or group.

         •   May occur by or against an individual of any sex, sexual orientation, gender
             identity, or gender expression.

         •   May occur in the classroom, in the workplace, in residential settings, or in
             any other setting.

         •   May be a one-time event or can be part of a pattern of behavior.

         •   May be committed in the presence of others or when the Parties are alone.

         •   May affect the Complainant and/or Third Parties who witness or observe
             harassment and are affected by it.

      Examples of conduct that may constitute Sexual Harassment as defined above may
      include a severe, persistent or pervasive pattern of unwelcome conduct that includes
      one or more of the following:

             •   Physical conduct, including unwelcome touching, sexual/physical
                 assault, impeding, restraining, or blocking movements, or unwanted
                 sexual advances;

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               •   Verbal conduct, including making or using derogatory comments,
                   epithets, slurs or humor; verbal abuse of a sexual nature, graphic verbal
                   commentaries about an individual’s body, sexually degrading words
                   used to describe an individual, suggestive or obscene letters, notes, or
                   invitations; or objectively offensive comments of a sexual nature,
                   including persistent or pervasive sexually explicit statements, questions,
                   jokes, or anecdotes;

               •   Visual Conduct, including leering, making sexual gestures, displaying
                   of suggestive objects or pictures, cartoons, or posters in a public space
                   or forum; or severe, persistent, or pervasive visual displays of
                   suggestive, erotic, or degrading sexually oriented images that are not
                   pedagogically appropriate;

               •   Written Conduct

               •   Quid pro quo conduct.

     II.   Sexual Assault

        Sexual Assault is having or attempting to have sexual intercourse with another
        individual:

                    •   By force or threat of force;

                    •   Without effective affirmative consent; or

                    •   When that individual is incapacitated.

        Sexual assault refers to any sexual penetration (anal, oral, or vaginal), however
        slight, with any object, or sexual intercourse by a man or woman upon a man or
        woman without consent. Sexual penetration includes vaginal or anal penetration by
        a penis, tongue, finger, or object or oral copulation by mouth to genital contact or
        genital to mouth contact.

    III.   Non-Consensual Sexual Contact

        Non-Consensual Sexual Contact is having sexual contact with another individual:

                    •   By force or threat of force;



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                      •   Without effective affirmative consent; or

                      •   When that individual is incapacitated.

          Non-Consensual Sexual Contact includes intentional contact with the intimate parts
          of another, causing an individual to touch their own intimate body parts, or
          disrobing or exposure of another without permission. Intimate body parts may
          include the breasts, genitals, buttocks, groin, mouth or any other part of the body
          that is touched in a sexual manner.

    IV.       Stalking

          Stalking occurs when a person engages in a course of conduct directed at a specific
          person that would cause a reasonable person to fear for their safety or the safety of
          others or suffer substantial emotional distress.

          A course of conduct consists of two or more acts, including, but not limited to, acts
          in which a person directly, indirectly, or through third Parties, by any action,
          method, device, or means, follows, monitors, observes, surveils, threatens, or
          communicates to or about another person, or interferes with another person’s
          property.

          Reasonable person means a reasonable person under similar circumstances and
          with similar identities to the Complainant.

          Substantial emotional distress means significant mental suffering or anguish that
          may, but does not necessarily, require medical or other professional treatment or
          counseling.

          …

          Examples of stalking include, but are not limited to:

              •   Non-consensual communication including in-person communication,
                  telephone calls, voice messages, text messages, email messages, social
                  networking site postings, instant messages, posting of pictures or
                  information on web sites, written letters, gifts, or any other communications
                  that are undesired and/or place another person in fear;

              •   Following, pursuing, waiting, showing up uninvited at a workplace, place
                  of residence, classroom, or other locations frequented by a person;

              •   Surveillance and other types of observation, whether by physical proximity
                  or electronic means; and


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             •     Gathering information about a person from family, friends, co-workers,
                   and/or classmates.

          To qualify as stalking, the conduct is not required to be sexual in nature.

     V.      Key Terms: Affirmative           Consent,    Force,    Intimidation,       Coercion,
             Incapacitation

              1.    Affirmative Consent

          Under New York law, affirmative consent means: knowing, voluntary, and mutual
          decision among all participants to engage in sexual activity. Consent can be given
          by words or actions, as long as those words or actions create clear permission
          regarding willingness to engage in the sexual activity. Silence or lack of resistance,
          in and of itself, does not demonstrate consent. The definition of consent does not
          vary based upon a participant’s sex, sexual orientation, gender identity, or gender
          expression.
                       • Consent to any sexual act or prior consensual sexual activity
                            between or with any party does not necessarily constitute consent
                            to any other sexual act.

                       •   Consent is required regardless of whether the person initiating the
                           act is under the influence of drugs and/or alcohol.

                       •   Consent may be initially given but withdrawn at any time.

                       •   Consent cannot be given when a person is incapacitated, which
                           occurs when an individual lacks the ability to knowingly choose to
                           participate in sexual activity. Incapacitation may be caused by the
                           lack of consciousness or being asleep, being involuntarily
                           restrained, or if an individual otherwise cannot consent. Depending
                           on the degree of intoxication, someone who is under the influence
                           of alcohol, drugs, or other intoxicants may be incapacitated and
                           therefore unable to consent.

                       •   Consent cannot be given when it is the result of any coercion,
                           intimidation, force, or threat of harm.

                       •   When consent is withdrawn or can no longer be given, sexual
                           activity must stop.



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           2.   Force

      Force is the use or threat of physical violence to overcome an individual’s freedom
      of will to choose whether or not to participate in sexual activity or provide consent.
      Consent obtained by force is not valid.

      For the use of force to be demonstrated, there is no requirement that a Complainant
      resist the sexual advance or request. However, evidence of resistance by the
      Complainant will be viewed as a clear demonstration of a lack of consent.

           3.   Intimidation

      Intimidation is the use of implied threats to overcome an individual’s freedom of
      will to choose whether or not to participate in sexual activity or provide consent.
      Consent obtained by intimidation is not valid.

           4.   Coercion

      Coercion is the improper use of pressure to compel another individual to initiate or
      continue sexual activity against that individual’s will. Consent obtained through
      coercion is not valid.

      Coercion can include a wide range of behaviors, including intimidation,
      manipulation, threats, and blackmail. A person’s words or conduct are sufficient to
      constitute coercion if they wrongfully impair another individual’s freedom of will
      and ability to choose whether or not to engage in sexual activity. Examples of
      coercion include threatening to “out” someone based on sexual orientation, gender
      identity, or gender expression and threatening to harm oneself if the other Party
      does not engage in the sexual activity. When someone indicates, verbally or
      physically, that they do not want to engage in a particular sexual activity, that they
      want to stop a particular activity, or that they do not want to go past a certain point
      of sexual interaction, continued activity or pressure to continue beyond that point
      can be coercive. [Union] will evaluate the following in determining whether
      coercion was used: (a) the frequency of the application of pressure, (b) the intensity
      of the pressure, (c) the degree of isolation of the person being pressured, and (4)
      the duration of the pressure.

           5.   Incapacitation

      Incapacitation is a state where an individual cannot make an informed and rational
      decision to engage in sexual activity because of a lack of conscious understanding
      of the fact, nature, or extent of the act (e.g., to understand the who, what, when,

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      where, why, or how of the sexual interaction) and/or is physically helpless. For
      example, an individual is incapacitated, and therefore unable to give consent, if the
      individual is asleep, unconscious, or otherwise unaware that sexual activity is
      occurring. An individual will also be considered incapacitated if the person cannot
      understand the nature of the activity or communicate due to a mental or physical
      condition.

      Incapacitation may result from the use of alcohol, drugs, or other medication.
      Consumption of alcohol or other drugs alone is insufficient to establish
      incapacitation.

      The impact of alcohol and drugs varies from person to person, and evaluating
      incapacitation requires an assessment of how the consumption of alcohol and/or
      drugs impacts an individual’s: (1) decision-making ability; (2) awareness of
      consequences; (3) ability to make informed judgments; or (4) capacity to appreciate
      the nature and the quality of the act.

      It shall not be a valid excuse that the Respondent believed that the Complainant
      affirmatively consented to the sexual activity if the Respondent knew or reasonably
      should have known that the Complainant was unable to consent to the sexual
      activity under any of the following circumstances: (a) the Complainant was asleep
      or unconscious; (b) the Complainant was incapacitated due to the influence of
      drugs, alcohol, or medication, so that the Complainant could not understand the
      fact, nature, or extent of the sexual activity; (c) the Complainant was unable to
      communicate due to a mental or physical condition.

      Whether the Respondent reasonably should have known that the Complainant was
      incapacitated will be evaluated using an objective reasonable person standard. The
      fact that the Respondent was actually unaware of the Complainant’s incapacity is
      irrelevant to this analysis, particularly where the Respondent’s failure to appreciate
      the Complainant’s incapacitation resulted from the Respondent’s failure to take
      reasonable steps to determine the Complainant’s incapacitation or where the
      Respondent’s own incapacitation (from alcohol or drugs) caused the Respondent to
      misjudge the Complainant’s incapacity.

      It is the responsibility of each Party to be aware of the intoxication level of the other
      Party before engaging in sexual activity. In general, sexual activity while under the
      influence of alcohol or other drugs poses a risk to all Parties. If there is any doubt
      as to the level or extent of the other individual’s intoxication, it is safest to forgo or
      cease any sexual contact or activity.


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          Being intoxicated by drugs or alcohol is no defense to any violation of this Policy
          and does not diminish one’s responsibility to obtain consent.

    VI.      Retaliation

          Retaliation includes adverse action taken against a person for making a good faith
          report of Prohibited Conduct or participating in any proceeding under this Policy.
          Adverse action includes conduct that threatens, intimidates, harasses, coerces or in
          any other way seeks to discourage a reasonable person from engaging in activity
          protected under this Policy. Retaliation can be committed by or against any
          individual or group of individuals, not just a Respondent or Complainant.
          Retaliation does not include good faith actions lawfully pursued in response to a
          report of Prohibited Conduct. Retaliation may be present even where there is a
          finding of “no responsibility” on the allegations of Prohibited Conduct.

          [Union] will take immediate and responsive action to any report of retaliation and
          will pursue disciplinary action as appropriate. An individual reporting Prohibited
          Conduct is entitled to protection from any form of retaliation following a report that
          is made in good faith, even if the report is later not proved.

   VII.      Interim Measures, Remedies, and Accomodations

          Upon receipt of a report, [Union] will impose reasonable and appropriate interim
          measures designed to eliminate the hostile environment and protect the parties
          involved. [Union] will make reasonable efforts to communicate with the parties to
          ensure that all safety, emotional and physical well-being concerns are being
          addressed. Interim measures may be imposed regardless of whether formal
          disciplinary action is sought by the Complainant of [Union].

          A complainant or respondent may request a No Contact Order or other protection,
          or [Union] may choose to impose interim measures at it discretion to ensure the
          safety of all parties, the broader [Union] community and/or the integrity of the
          process.

          All individuals are encouraged to report concerns about failure of another
          individual to abide by any restrictions imposed by an interim measure. [Union] will
          take immediate and responsive action to enforce a previously implemented
          measure.




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       75.        With respect to the process for investigating and adjudicating complaints of sexual

assault, the Policy provided:


          VIII.      Sexual Misconduct Adjudication Process

                  Formal Resolution of a complaint under this policy will occur through the use of
                  an Adjudication Panel. A brief outline of the process is provided below. A
                  description of each step in the process is outlined thereafter.

                      1. Initiating the Disciplinary Process
                      2. Responding to a Disciplinary Complaint
                      3. Fact Finding Investigation
                      4. Investigative Report
                      5. Document Review
                      6. Notice of Charges
                      7. Notice of Adjudication
                      8. Panel Adjudication/Decision
                      9. Sanctions
                      10. Outcome Letter
                      11. Appeals
                      12. Concerns about the Implementation of this Policy
                      13. Integrity of Process
                      14. Conclusion of Case

                      a) Complainant’s Statement
                  For a Complainant to file a disciplinary complaint against a student, the
                  Complainant must submit a written statement detailing the allegations of the sexual
                  misconduct. This statement is the first opportunity for the Complainant to describe
                  the allegations against the Respondent….

                  The Complainant’s Statement is one of the most important documents to be
                  considered in the Sexual Misconduct Adjudication Process….

                  The Respondent will not be allowed to see the Complainant’s Statement until after
                  the Respondent has filed their statement in response to the original Complaint
                  Form. Once the Respondent has submitted their statement, they will be given a copy
                  of the Complainant’s Statement. The Complainant will also be given a copy of the
                  Respondent’s Statement. (emphasis in original).



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              b) No Contact Order
          Upon the initiation of a complaint under the Sexual Misconduct Adjudication
          Process, a “No Contact order” will be put into place between the Complainant and
          Respondent by the Senior Associate Dean of Students/Director of Student Conduct.
          The no Contact Order will bar any communication or contact between the
          Complainant and Respondent and will prohibit any interaction or exchange
          between them, either directly or through others… A No Contact order can be kept
          in place after the conclusion of the Sexual misconduct Adjudication Process. In
          cases where a demonstrated violation of the No Contact order has been shown,
          the responsible party may be separated from [Union] pending the final
          resolution of the disciplinary complaint as an interim measure. (emphasis in
          original).

               c) Respondent’s Statement
          If the Respondent does not accept liability, they will be asked to provide a written
          response to the information contained in the Complaint Form. The Respondent’s
          Statement must be submitted to the Title IX Coordinator within seven (7) days after
          the meeting with the Title IX Team… Once the Respondent has submitted their
          statement, the Respondent will be given a copy of the Complainant’s Statement.
          The Complainant will also be given a copy of the Respondent’s Statement.

    IX.       Fact Finding Investigation

          After both parties have submitted their statements to the Title IX Coordinator, the
          Title IX Coordinator will initiate a Fact-Finding Investigation, utilizing [Union’s]
          neutral investigators. It is the responsibility of the Investigator(s), not the parties,
          to father the evidence relevant to the Complaint and the facts raised in the parties’
          statement, to the extent reasonably possible. [] In all cases, the Investigator(s) will
          conduct an impartial investigation into the allegations of the disciplinary complaint,
          reviewing all evidence deemed to be relevant.

          …

     X.       Investigative Report

          Once the Fact Finding Investigation has been completes, the Investigator(s) will
          evaluate the information obtained during this process. The Investigator(s) will
          prepare a report summarizing and analyzing the relevant facts received through the
          Investigation, noting any supporting documentation or statements…

          Once the report is finalized, it will be provided to both the Complainant and the
          Respondent for review. [] The final report will be made available to the Sexual
          Misconduct Adjudication panel…




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             XI.        Document Review

                    Both the complainant and the Respondent will be provided the opportunity to
                    review the final investigative report…

                    Any requested changes or concerns must be submitted in writing to the Senior
                    Associate Dean of Students by the respective parties within two (2) days of
                    reviewing the document(s). [] The senior Associate Dean of Students, in
                    consultation with the Title IX Coordinator, will provide a copy of the final
                    investigative report to the Adjudication Panel.

             XII.       Panel Adjudication/Decision

                    Upon determining that all the issues regarding the disciplinary complaint have been
                    fully investigated and adequately addressed the Title IX Coordinator and the Chair
                    of the Adjudication Panel will select four (4) members to serve on the Panel.

                    The Adjudication Panel is typically composed of two (20 faculty or staff members,
                    two (2) students, and the chair, a Senior Student Affairs Administrator. Each
                    member, including the chair, will have an equal vote. A quorum of the Adjudication
                    Panel shall consist of the chair, and two (2) panel members.

                    The Adjudication Panel will have the responsibility to determine (1) whether
                    [Union’s] Policy has been violated and (2) what recommended disciplinary action
                    should be imposed if [the Policy] is found to have been violated.

                    …

Union’s Noted Shortcomings in Conducting Title IX Investigations

       76.          Just one year prior to Plaintiff’s Assault, on or about September 16, 2015, the U.S.

Department of Education Office for Civil Rights (“OCR”) opened an investigation into a complaint

filed against Union for its alleged mishandling of a complaint of sexual assault.

       77.          Specifically, on or about July 30, 2015, the OCR received a complaint regarding

the failure of Union to provide a prompt and equitable response to an allegation of sexual assault.

       78.          The OCR determined, because Union is a recipient of federal financial assistance,

that the OCR had jurisdiction to pursue an investigation, not only of the July 30, 2015 complaint,

but into “whether the college promptly and equitably responded to all complaints, reports, and/or



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incidents of sexual assault/violence of which it had notice; and as a result, students at the College,

including the complainant, were subjected to a sexually hostile environment.”

       79.     The 2015 OCR investigation is currently ongoing.

       80.     Moreover, upon information and belief, for years preceding Plaintiff’s Assault, the

College has willfully ignored and/or mishandled complaints of sexual misconduct on campus to

the direct and purposeful detriment of its female students and complainants.

       81.     By way of example only, upon information and belief, for the past several years,

no less than five (5) woman have reported their experiences of sexual assault to the College in the

hopes that their complaints would be properly investigated and handled by Union.

       82.     Instead, upon information and belief, these women’s complaints fell on deaf ears,

with the College sometimes even telling the complainants that it refused to look into their assaults

at all. This resulted in not only the perpetrators getting away with sexual assault and/or misconduct,

but also led to the female victim’s continued torment at the College.

       83.     Furthermore, upon information and belief, the College has, and continues to have,

a policy of covering up complaints and instances of sexual misconduct on campus, going so far as

to discourage victims from seeking outside resources or involving outside agencies such as the

local police. Upon information and belief, the College’s policy with respect to the handling of

sexual assault cases is to keep it quiet and internal – leading often times to the further victimization

of its female students.

Assaulter Smith Torments Plaintiff on Campus

       84.     Upon information and belief, shortly after Plaintiff filed her Title IX Complaint at

Union, Assaulter Smith was advised of the allegations against him and also made to sign

Confidentiality and No Contact orders.



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        85.      Despite the mandate that the proceedings remain confidential, upon information

and belief, Assaulter Smith told a multitude of people about Plaintiff’s allegations against him.

Thereafter, Assaulter Smith, along with many of his friends at Union, began a slanderous and

torturous campaign against Plaintiff.

        86.      Soon after filing her formal complaint, Plaintiff began to hear disgusting rumors

about her being “crazy” around campus.

        87.      Plaintiff was outright targeted on campus and called a “slut” and a “whore” by her

fellow Union students, many of which were friends of Assaulter Smith. Plaintiff was “slut

shamed”5 for the Assault every time she left her dorm room.

        88.      Plaintiff dutifully advised Union of this ongoing harassment however Union failed

to sufficiently intervene.

        89.      By way of example, when Plaintiff advised Dean Williams of this ongoing

harassment, Dean Williams did not give Plaintiff a reaction.

        90.      By way of further example, when Plaintiff advised Dean Levitt of the ongoing

harassment, Dean Levitt simply advised Plaintiff to speak with Coordinator Kelley. When Plaintiff

advised Coordinator Kelley of this ongoing harassment, Coordinator Kelley, simply advised that

she would look into it. To Plaintiff’s knowledge, however, nothing was ever done to investigate

the ongoing harassment and it was allowed to continue.

        91.      Plaintiff was forced to live out the remainder of the Spring 2016 semester under

extreme stress and anxiety, as she was daily harassed and tormented by Union students for being

a rape victim.




5
  The term “slut-shamed” is colloquially used to describe the act of making someone feel embarrassed or ashamed
following a sexual encounter.

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        92.     As a result, Plaintiff found herself being not as engaged in her academics which

resulted in lower grades in her classes; Plaintiff withdrew from all social engagements, isolated

herself from the Union community, and found it extremely difficult to even get out of bed each

day.

Union Initiates an Investigation into Plaintiff’s Title IX Complaint Against Assaulter Smith

        93.     Union assigned two investigators, Laura Munkes and Thomas Constantine

(collectively the “Investigators”), to investigate Plaintiff’s Title IX complaint.

        94.     Upon information and belief, the Investigators’ responsibility was to thoroughly,

objectively, and impartially investigate Plaintiff’s Title IX complaint against Assaulter Smith.

        95.     Despite this, however, the Investigators proceeded to conduct a clearly biased

investigation, offering Assaulter Smith the benefit of every doubt throughout their inquiry,

culminating in catastrophic results for Plaintiff.

        96.     By way of example, upon information and belief, the Investigators began their

investigation by scheduling interviews with the parties involved and any potential witnesses.

        97.     Curiously, although it was her complaint, the Investigators, upon information and

belief, intentionally, chose not to interview Plaintiff first.

        98.     Instead, without having learned the details of Plaintiff’s complaint from Plaintiff

first, the Investigators determined to first interview the respondent, Assaulter Smith, and then

confronted Plaintiff with the information they had learned during his interview.

        99.     Notably, throughout the investigation, the Investigators failed to interview key

witnesses in support of Plaintiff’s complaint, including one witness who would have been able to

corroborate Plaintiff’s moment of recall in April of 2016.




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        100.    In addition, the Investigators appeared to spend an inordinate amount of time and

energy probing Plaintiff’s past drinking and partying habits, and included in their report The

Investigators included in their investigative report, information seemingly unrelated to Plaintiff’s

intoxication level on the night of the Assault as a means to degrade her credibility as a complainant.

        101.    Moreover, the Investigators included damning and demeaning character “evidence”

against Plaintiff in their investigative report, and, upon information and belief, excluded positive

character evidence gathered during their investigation in an effort to make Plaintiff look less

credible.

        102.    Further, upon information and belief, the Investigators intentionally failed to

investigate Assaulter Smith’s defenses to the charges, instead opting to accept Assaulter Smith’s

assertions as infallible truth.

        103.    By way of example, in response to Plaintiff’s rape allegations, Assaulter Smith

apparently reported to the Investigators that he was physically incapable of getting or sustaining

an erection with a woman unless he were in a long-term relationship with her.

        104.    In response, the Investigators did absolutely nothing to investigate the truth of

Assaulter Smith’s physiologically impractical claim, choosing instead to represent and treat such

assertion as a medically viable defense to refute Plaintiff’s complaint.

        105.    Moreover, similar to Dean Williams, Dean Leavitt, and Coordinator Kelley, the

Investigators ignored the ongoing harassment Plaintiff was subjected to on campus.

        106.    During the investigation, Plaintiff shared with the Investigators that she had been

subjected to continuing sexual harassment and bullying related to her Title IX complaint against

Assaulter Smith. In response, the Investigators seemed disinterested and did not delve into

Plaintiff’s complaint about ongoing harassment in much, if any, detail.



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       107.    Throughout the investigation, Union kept Plaintiff woefully uninformed, failing

entirely to advise Plaintiff of which witnesses were interviewed or what evidence was gathered

throughout the Investigators’ inquiry. Plaintiff had barely, if any, contact with the Investigators

throughout the process other than at her interview.

       108.    Indeed, it was not until the eve of the Title IX hearing to adjudicate Plaintiff’s

complaint that Plaintiff ever saw an investigative report; Plaintiff was not provided with a

preliminary or draft report to review and was instead provided just one final report for which she

could not submit comments to.

Plaintiff Is Forced to Adjourn the Title IX Hearing to Accommodate Assaulter Smith

       109.    On or about July 15, 2016, Plaintiff returned to Union with her advisor to participate

in a hearing to adjudicate her Title IX Complaint before a Hearing Panel.

       110.    Plaintiff had been told by Dean Williams that Assaulter Smith was instructed to

enter the building at Union from a designated entrance separate from where Plaintiff was scheduled

to enter the building.

       111.    Upon information and belief, this mandate was to prevent Assaulter Smith and

Plaintiff from seeing each other prior to, during, or after the hearing. Upon information and belief,

however, Union took no measures to make sure this arrangement was properly executed.

       112.    On the day of the hearing, Plaintiff observed Assaulter Smith using the wrong

entrance and elevator immediately prior to the scheduled hearing. Upon information and belief,

Assaulter Smith intentionally used the wrong entrance to force Plaintiff to see him before the

hearing.

       113.    Seeing Assaulter Smith before the hearing was extremely distressing for Plaintiff

and only served to make her feel uneasy before an incredibly important step in her Title IX process.



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         114.   Assaulter Smith’s strategy to keep Plaintiff on edge, however, proved moot as the

hearing was forcibly adjourned after Assaulter Smith’s advisor failed to appear.

         115.   Specifically, after waiting approximately 20 minutes for the hearing to start,

Plaintiff and her advisor were approached by Dean Williams who informed them that Assaulter

Smith’s attorney was unable to attend that day’s proceedings.

         116.   Dismayed that she had apparently wasted her time waiting around at the pre-

scheduled hearing, Plaintiff agreed to postpone the hearing for a date that Assaulter Smith’s

attorney could attend.

Plaintiff Returns to Union for the Re-Scheduled Hearing

         117.   Plaintiff and her advisor returned to Union for the rescheduled hearing on July 18,

2016.

         118.   During the hearing, Plaintiff and Assaulter Smith remained in separate rooms.

However, during the times that Plaintiff was in a separate room from the Hearing Panel, a live

video stream of her and her advisor was broadcast into the hearing room, allowing Assaulter Smith

and his attorney to observe her throughout the proceedings. Likewise, while Assaulter Smith was

outside of the hearing room, a live stream of him and his advisor was displayed directly behind

Plaintiff in the hearing room.

         119.   Throughout the hearing, the Hearing Panel displayed outright hostility towards

Plaintiff while openly favoring Assaulter Smith.

         120.   By way of example, throughout the hearing, the Hearing Chair, Union’s then

Associate Dean of Students Tom McEvoy (“Hearing Chair McEvoy”), repeatedly berated

Plaintiff’s advisor for allegedly speaking during the proceedings. In contrast however, Assaulter

Smith’s advisor – a trained attorney – was allowed to obnoxiously interject and speak for his client



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multiple times throughout the day’s proceedings without any reprimand or correction from

Hearing Chair McEvoy.

        121.   Moreover, the Hearing Panel permitted Assaulter Smith, as well as his witnesses,

to introduce slanderous evidence and testimony at the hearing in a blatant effort to undermine and

attack Plaintiff’s character, going so far as to introduce private and personal information about

Plaintiff and her mother which bore no relevance to Plaintiff’s Title IX Complaint.

        122.   In contrast, Plaintiff was unequivocally told that she could not introduce any

character evidence or witnesses to either (i) rehabilitate her character or (ii) to shed light on

Assaulter Smith’s character.

        123.   During the hearing, both Plaintiff and Assaulter Smith were permitted to ask

questions of each other, the, and the witnesses. Notably, during questioning, Assaulter Smith

admitted that he knew Plaintiff was far too intoxicated to consent to anything after she vomited

into the trashcan.

Union Clears Assaulter Smith of Any Wrongdoing

        124.   Amazingly, despite glaring inconsistencies in the investigative report and Assaulter

Smith’s admissions during the hearing, Union found Assaulter Smith not responsible for raping

Plaintiff.

        125.   In support of the Hearing Panel’s decision, articulated to Plaintiff via letter dated

July 26, 2016, the Hearing Panel all but accepted Assaulter Smith’s telling of events in its entirety

and accused Plaintiff of not only consenting to the sexual contact, but of asking for it.

        126.   Plaintiff was flabbergasted by the results of the hearing and promptly appealed the

decision. Sadly, however, Plaintiff’s appeal was denied and she was left with no further recourse.




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Union Allows Assaulter Smith to Torment and Harass
Plaintiff to the Point She Must Leave Campus

        127.    Plaintiff returned to Union for the 2016-2017 academic year and moved into her

new dorm in Union’s Beuth building (“Beuth”).

        128.    Although Assaulter Smith had been found not responsible for the Assault, the No

Contact Order between him and Plaintiff remained in effect and had been updated to reflect their

new dorm assignments for the 2016-2017 academic year.

        129.    While moving into Beuth, Plaintiff heard a familiar voice outside of her dorm

window; it was Assaulter Smith. He was walking past Plaintiff’s dorm and had stated to his friend

“I can’t believe that bitch is still here after I won the case.”

        130.    Thereafter, throughout the remainder of the Fall 2016 semester, Assaulter Smith

intentionally tormented, harassed, and stalked Plaintiff in an obvious effort to make her miserable

on campus.

        131.    Assaulter Smith and his friends would publicly scream “whore”, “slut”, and “liar”

at Plaintiff on campus, and would refer to Plaintiff as “the girl who tried to get a nice guy in

trouble.” Such comments were made not only around Union’s campus but even in the classroom,

making it virtually impossible for Plaintiff to enjoy a harmonious educational environment and

significantly affecting Plaintiff not just emotionally and mentally, but also academically.

        132.    Plaintiff dutifully reported Assaulter Smith’s disgusting behavior to Union but to

no avail. The only remedy Union would bother to enforce was to widen the proximity noted in the

No Contact Order, an order which Assaulter Smith repeatedly and unabashedly violated time and

time again.




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        133.    Assaulter Smith was so bold on campus that he even began to stalk Plaintiff around

Union, and was videotaped by Union security following closely behind Plaintiff as she navigated

Union’s campus for an extended period of time.

        134.    Despite being caught by Union security, upon information and belief, no

disciplinary action was taken against Assaulter Smith.

        135.    Seeing that Union was not going to do anything to curve his behavior, Assaulter

Smith became ever more emboldened and, on one occasion, walked directly up to Plaintiff, groped

her buttocks, and whispered into her ear “You’re still mine.”

        136.    Plaintiff immediately reported this incident to campus safety and Coordinator

Kelley. Appallingly, in response to Plaintiff’s report that Assaulter Smith not only violated the No

Contact Order again but had also physically assaulted her, Coordinator Kelley simply told Plaintiff

that she did not believe her.

        137.    As a result of the ongoing harassment, as well as Union’s clear disinterest in

protecting Plaintiff, Plaintiff was forced to leave and de-enroll from Union.

                                     CAUSES OF ACTION
                       AS AND FOR A FIRST CAUSE OF ACTION
            (Discrimination in violation of Title IX: Hostile Education Environment –
                                    Sexually Hostile Culture)

        138.    Plaintiff repeats and re-alleges each and every allegation above with the same force

and effect as if fully set forth herein.

        139.    As set forth in detail above, Defendants actively created and/or condoned and/or

were deliberately indifferent to a culture of sexual hostility and violence against women by

instituting policies and permitting practices that included, but were not limited to: (i) purposefully

ignoring and/or condoning a social culture of sexual violence and harassment against female

students; (ii) intentionally ignoring and/or delaying investigation(s) of complaints of sexual


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misconduct and rape perpetrated against its female students; (iii) failing to fulfill their obligations

as mandatory reporters following receipt of complaints of sexual misconduct and/or sexual assault

and/or sexual harassment; (iv) failing to objectively and sufficiently investigate complaints of

sexual misconduct and/or sexual assault and/or sexual harassment; (v) intentionally

misrepresenting evidence gathered during investigations into complaints of sexual misconduct

and/or sexual assault; (vi) failing to proffer equal opportunities to female complainants during the

investigation and/or adjudication of complaints of sexual misconduct and/or sexual assault; (vii)

enforcing a policy and practice of ignoring violations of No Contact Orders leading to the

subjection of Union’s female populace to ongoing sexual harassment; (vii) providing male students

accused of sexual misconduct and/or sexual assault unwarranted leniency in the adjudication of

Title IX complaints brought by female students; and (ix) permitting male students accused of

sexual misconduct to continue to harass victims of sexual assault.

       140.    Defendants’ sexually hostile policies and practices were a proximate cause of

Plaintiff’s subjection to months of sexual harassment in the form of (i) sexual assault by one of

Union’s male students; (ii) a hostile educational environment; and (iii) ongoing and prolonged

harassment of Plaintiff by other students and her accused rapist.

       141.    The sexual harassment that Plaintiff suffered was so severe, pervasive, and

objectively offensive that it effectively barred her access to educational opportunities and benefits

from Defendant Union.

       142.    As a direct and proximate result of Defendants’ creation of and deliberate

indifference to its sexually hostile educational environment, Plaintiff suffered damages and

injuries for which Defendants are liable.




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                     AS AND FOR A SECOND CAUSE OF ACTION
   (Gender Discrimination in violation of Title IX: Deliberate Indifference to Plaintiff’s Rape)

        143.    Plaintiff repeats and re-alleges each and every allegation above with the same force

and effect as if fully set forth herein.

        144.    Title IX prohibits federally-funded institutions such as Defendant Union from

engaging in discrimination on the basis of sex.

        145.    Sexual harassment is included within the meaning of “discrimination” under Title

IX.

        146.    Sexual harassment of a student creates a hostile environment if the conduct is

sufficiently severe that it denies or limits a student’s ability to participate in or benefit from

educational programs.

        147.    A single instance of rape is sufficiently severe to create a hostile education

environment.

        148.    Title IX requires universities to promptly investigate student complaints of sexual

harassment, and to take interim measures to ensure that its students are not subjected to a hostile

education environment. The failure to do so amounts to “deliberate indifference” for which

Defendants may be held liable under Title IX.

        149.    Defendants’ failure to promptly and objectively investigate the Assault, conduct a

timely and unbiased investigation and hearing, or find Assaulter Smith responsible for the Assault

was intentional and unreasonable.

        150.    Defendants’ further failure to (i) investigate Assaulter Smith’s ongoing violations

of the No Contact Order; (ii) continued sexual harassment of Plaintiff on Union’s campus; (iii)

investigate Plaintiff’s complaint that she was further harassed and physically assaulted by

Assaulter Smith was intentional and unreasonable.


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        151.    Defendants’ actions, and/or lack thereof, constitute “deliberate indifference” in

violation of Title IX.

        152.    As a direct and proximate result of Defendants’ deliberate indifference to Plaintiff’s

rape and Defendants’ violations of Title IX, Plaintiff was exposed to continued harassment by

Assaulter Smith and others which sexual harassment was so severe, pervasive, and objectively

offensive that it effectively barred Plaintiff equal access to meaningful educational opportunities

and benefits including, but not limited to, academics, on campus events and activities, and

extracurricular activities.

        153.    As a direct and proximate result of Defendants’ deliberate indifference to Plaintiff’s

rape and sexual harassment, and Defendants’ violations of Title IX, Plaintiff was subjected to a

hostile education environment while attempting to pursue her education on Defendant Union’s

campus forcing her to de-enroll as a student at Union.

        154.    As a direct and proximate result of Defendants’ deliberate indifference to Plaintiff’s

rape and Defendants’ violations of Title IX, Plaintiff has suffered and continues to suffer

significant, severe, and ongoing emotional distress and mental anguish.

        155.    As a direct and proximate result of Defendants’ deliberate indifference to Plaintiff’s

rape and Defendants’ violations of Title IX, Plaintiff suffered damages and injuries for which

Defendants are liable.

                         AS AND FOR A THIRD CAUSE OF ACTION
                                      (Negligence)

        156.    Plaintiff repeats and re-alleges each and every allegation above with the same force

and effect as if fully set forth herein.

        157.    Defendants owed a duty of reasonable care to protect Plaintiff from a sexually

hostile environment which Defendants fostered and that was foreseeable.


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        158.    Defendants knew, or should have known, of the serious risk of sexual harassment

and assault that was occurring on Defendant Union’s campus, and knew or should have known of

the risk of sexual violence toward their female students.

        159.    The aforementioned sexually hostile policies of Defendants made the likelihood of

sexual violence toward Defendant Union’s female students foreseeable.

        160.    Defendants further had a duty of care and loyalty to institute its practices and

procedures, including but not limited to the Policy and the Administrative Policy, in a fair,

equitable, reasonable, and unbiased manner.

        161.    Defendants breached their duty to Plaintiff through its aforementioned sexually

discriminatory policies, practices, and actions, without any regard for the safety of women like

Plaintiff at Union. Defendants further breached their duty to Plaintiff by way of failing to properly

investigate and adjudicate Plaintiff’s Title IX Complaint in compliance with the Policy and/or the

Administrative Policy.

        162.    As a direct and proximate result of Defendants’ breach(es), Plaintiff suffered

damages and injuries for which Defendants are liable under New York State Common Law.

                        AS AND FOR A FOURTH CAUSE OF ACTION
                           (Breach of Implied and/or Express Contract)

        163.    Plaintiff repeats and re-alleges each and every allegation above with the same force

and effect as if fully set forth herein.

        164.    Based on the aforementioned facts and circumstances, Defendants created express

and implied contracts when Plaintiff was accepted as a student at Union.

        165.    Plaintiff at all times was expected to adhere to Defendant Union’s internal policies

and procedures, including, but not limited to, the Policy, and at all times did so adhere to such

policies and procedures.


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         166.    In contrast, Defendants were required to adhere to and implement the College’s

policies and procedures, the Policy, including but not limited to the Policy as defined and outlined

above.

         167.    During the Title IX process, Defendants intentionally and repeatedly failed to abide

by the Policy to the direct detriment of Plaintiff, thus causing Plaintiff significant damages.

         168.    Based on the foregoing facts and circumstances, Defendants breached their express

and/or implied agreement(s) with Plaintiff and are liable to Plaintiff for damages in an amount to

be determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs, and

disbursements.

                                 DEMAND FOR A JURY TRIAL

         169.    Pursuant to FRCP 38(b), Plaintiff hereby demands a trial by jury on all claims.

                                      PRAYER FOR RELIEF

         WHEREFORE, for the foregoing reasons, Plaintiff seeks a judgment against Defendants

as follows:

         (i)     An Order enjoining Defendants, along with their agents, employees, and those

                 acting in concert therewith, from unlawful discrimination on the basis of sex,

                 including the failure to address, prevent and/or remedy sexual harassment;

         (ii)    Injunctive relief required Defendant Union to redress its violations of Title IX,

                 including: (1) instituting, with the assistance of outside experts, and enforcing a

                 comprehensive sexual harassment policy; (2) distributing written policies to all

                 students describing prohibited activities and conduct and the consequences for

                 violations; and (3) providing for annual, independent review by outside reviewers

                 of Defendants’ compliance with sexual harassment policies and Title IX guidance;



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      (iii)   An award of damages against Defendants on Plaintiff’s claims one through five,

              as outlined above, including, without limitation, reimbursement of and

              prepayment for all of Plaintiff’s tuition or related expenses; payment of Plaintiff’s

              expenses incurred as a consequence of the sexual assault; damages for deprivations

              of the equal access to the education benefits and opportunities provided by

              Defendants; and damages for past, present, and future emotional pain and

              suffering, ongoing and severe mental anguish, and loss of past, present, and future

              earnings and enjoyment of life in an amount to be determined at trial;

      (iv)    Punitive and/or exemplary damages against Defendants;

      (v)     Statutory pre- and post-judgment interest on all sums awarded;

      (vi)    An award of costs and attorneys’ fees; and

      (vii)   Any other relief the Court finds just and proper.

Dated: New York, New York
       July 26, 2019



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